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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                                             CIVIL ACTION
PENNSYLVANIA ,
               Plaintiff,

               v.
                                                            NO. 17-4540
DONALD J. TRUMP, DONALD J.
WRIGHT, UNITED STATES
DEPARTMENT OF HEALTH AND
HUMAN SERVICES, STEVEN T.
MNUCHIN, UNITED STATES
DEPARTMENT OF THE TREASURY,
RENE ALEXANDER ACOSTA AND THE
UNITED STATES DEPARTMENT OF
LABOR,
               Defendants.

                                           ORDER

       AND NOW, this 8th day of February, 2018, upon consideration of Defendants’ Motion

to Stay (ECF No. 72), and in light of Plaintiff’s representation that the Motion is unopposed, IT

IS HEREBY ORDERED that the Motion is GRANTED. This civil action shall be marked

STAYED pending Defendant’s appeal of this Court’s Order on Pennsylvania’s Motion for

Preliminary Injunction (ECF No. 59 & 60) to the Third Circuit Court of Appeals.

       IT IS FURTHER ORDERED that the Clerk of the Court shall mark this Action

CLOSED for statistical purposes and place the matter in the civil suspense file.

                                                     BY THE COURT:


                                                     /s/Wendy Beetlestone, J.

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                                                     WENDY BEETLESTONE, J.
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